           Case 3:18-cv-05139-BHS-DWC Document 26 Filed 03/21/18 Page 1 of 9



 1                                                                 THE HONORABLE BENJAMIN SETTLE

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 5
 6
                                UNITED STATES DISTRICT COURT
 7
                          WESTERN DISTRICT OF WASHINGTON AT TACOMA
 8
 9
10             JESUS CHAVEZ FLORES,                               Case No.: 3:18-cv-05139-BHS
11
                                                Plaintiff,        THE GEO GROUP, INC. AND LOWELL
12                                                                CLARK'S AMENDED MOTION AND
               v.                                                 MEMORANDUM FOR SUMMARY
13
                                                                  JUDGMENT DISMISSAL OF
14             UNITED STATES IMMIGRATION                          PLAINTIFF’S COMPLAINT
               AND CUSTOMS ENFORCEMENT;
15
               THOMAS D. HOMAN, Deputy                            NOTED: April 13, 2018
16             D i r e c t o r a n d S e n i o r O ff i c i a l
17             Performing the Duties of the Director
               of the U.S. Immigration an Customs
18             Enforcement; BRYAN WILCOX,
19             Director of the Seattle Field Office of
               U.S. Immigration and Customs
20             Enforcement; WILLIAM
21             PENALOZA, Assitant Field Office
               Director, Detention, Seattle Field
22             Office of U.S. Immigration and
23             Customs Enforcement; THE GEO
               GROUP, INC., a Florida corporation;
24             L O W E L L C L A R K , Wa r d e n ,
25             Northwest Detention Center,

26                                              Defendants.
27
28
     ///
29
30    THE GEO GROUP, INC. AND LOWELL CLARK’S
                                                                                          III BRANCHES LAW, PLLC
                                                                                                  Joan K. Mell
      AMENDED MOTION AND MEMORANDUM FOR SUMMARY                                            1019 Regents Blvd. Ste. 204
31    JUDGMENT DISMISSAL OF PLAINTIFF’S COMPLAINT - !1 of 9!                                   Fircrest, WA 98466
                                                                                                253-566-2510 ph
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 1                                             I. INTRODUCTION
 2
                The GEO Group Inc. and Warden Lowell Clark of the Northwest Detention Center
 3
     (“NWDC”) move to dismiss the complaint against them because they are not state actors for
 4
 5   purposes of enforcing the First Amendment and because Mr. Chavez Flores fails to state any
 6
     plausible claims for which relief may be granted when he swears out a false complaint
 7
     contradicted by his own statement to law enforcement. His claims have no credibility in fact
 8
 9   and no legal support because temporarily separating a detainee from the general population to
10   de-escalate a disturbance does not violate the constitution, nor does disciplinary segregation.
11
                                                    II. FACTS
12
13                                        Chavez Incites A Disturbance

14              On or about February 7, 2018, Maru Villalpando of NWDC Resistance organized a
15
     “hunger strike” and “work stoppage” inside the NWDC.1 On February 8, 2018, Jesus Chavez
16
17   Flores (“Chavez”) announced to his whole housing unit that his fellow detainees should not eat

18   lunch after hearing on the radio an invitation to join in.2 When the detainees refused lunch, the
19
     housing unit detention officer notified command staff. 3 Command staff responded to the unit
20
21   to speak to Mr. Chavez outside the housing unit.4 Mr. Chavez refused to accompany Capt.

22   Portillo outside the unit.5     Numerous other detainees blocked the doorway, surrounded the
23
     detention officers, and refused instructions to “bunk up.”6             While attempting to clear the
24
25
26   1 Dkt. 2-2 at 83 (Cho Dec. Ex. L) and http://www.nwdcresistance.org/wp-content/uploads/2015/09/Feb-10-Hunger-
     Strike-Press-Release-.pdf
27   2 Dkt. 25 (Amended Mell Dec. Ex. F Chavez Statement to TPD).

     3 Dkt. 23 (Portillo Dec. Ex. B D/O Gordon Statement)
28   4 Dkt. 23 (Portillo Dec. at 2) and Dkt. 25 Amended Mell Dec. Ex. F (Chavez Statement to TPD).

     5 Dkt. 23 (Portillo Dec.)
29
     6 Id.
30       THE GEO GROUP, INC. AND LOWELL CLARK’S
                                                                                               III BRANCHES LAW, PLLC
                                                                                                       Joan K. Mell
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 1   doorway, Mr. Chavez appears to have been accidentally clipped possibly by a detention
 2
     officer.7 The video shows Mr. Chavez cover his eye while moving within a group of detainees
 3
     who are blocking the doorway and a detention officer can be seen directing them sideways
 4
 5   away from the doorway with his arm extended.8 No one ever punched Mr. Chavez.9 Captain
 6
     Portillo photographed Mr. Chavez in the medical unit.10        Mr. Chavez had no observable
 7
     injuries.11 The photos show him to be without swelling, bruising, or redness. Later Captain
 8
 9   Portillo observed Mr. Chavez intentionally aggravating his eye, which the Public Health
10   Service attended to medically.12 Mr. Chavez returned to the housing unit after receiving
11
     medical attention. No one imposed any discipline against him for his disruptive behavior. 13
12
13                                       Chavez Possessed Contraband

14              On February 10, 2018, the housing unit detention officer found contraband in the
15
     locked security box assigned to Mr. Chavez.14 Mr. Chavez had in his possession fermenting
16
17   apples.15 Alcohol is considered contraband. Mr. Chavez received disciplinary detention for

18   possessing contraband. He received twenty days on February 14, 2018 at 14:30 with credit
19
     dating back to the 10th.16       Right after his disciplinary hearing, the Tacoma Police
20
21   Department responded to his wife’s call wherein she reported an alleged assault from the

22
23
24   7 Dkt. 25 (Amended Mell Dec. Ex. F Police Report)
     8 Dkt. 25 (Amended Mell Dec. Ex. E Video)
25   9 Dkt. 25 (Amended Mell Dec. Ex. A Incident Report)
     10 Dkt. 23 (Portillo Dec.)
26
     11 Dkt. 25 (Amended Mell Dec. Ex. C Photos)

27   12 Dkt. 23 (Portillo Dec.)

     13 Id.
28   14 Dkt. 25 (Amended Mell Dec. Ex. H Search Report)

     15 Dkt. 25 (Amended Mell Dec. Ex. H Search Report)
29
     16 Dkt. 25 (Amended Mell Dec. Ex. I Seg Order)
30       THE GEO GROUP, INC. AND LOWELL CLARK’S
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 1   unrelated disturbance of February 8th.17 TPD interviewed Mr. Chavez at 14:45 on February
 2
     14, 2018 after he had been disciplined.18
 3
                                                   Chavez Files Suit
 4
 5             On February 23, 2018, Mr. Chavez filed suit alleging a First Amendment claim only.19
 6
     Mr. Chavez makes the false assertion that the detention officer who was attempting to move
 7
     him and other detainees away from the door “punched Mr. Chavez with a closed fist in the left
 8
 9   eye.”20     This assertion is not true as is evident from the video and his report to law
10   enforcement.21
11
                                              III. LEGAL ARGUMENT
12
13   A.        Plaintiff Fails to State A Claim

14             Fed. R. Civ. P. 8(a)(2) requires a “short and plain statement of the claim showing that the
15
     pleader is entitled to relief.” Detailed factual allegations are not required, but case law explains
16
17   that a federal complaint must contain more than “an unadorned, the-defendant-unlawfully-

18   harmed-me accusation.”22 The grounds must set forth more than “labels and conclusions, and a
19
     formulaic recitation of a cause of action's elements will not do.”23 “Nor does a complaint suffice
20
21   if it tenders ‘naked assertion[s]’ devoid of ‘further factual enhancement.’”24 The complaint must

22   meet “plausibility” standards. A claim is facially plausible when the facts pled “allow the court
23
24
25   17 Dkt. 23 (Portillo Dec.)
26
     18 Dkt. 25 (Amended Mell Dec. Ex. G Log Book)
     19 Dkt. 1 (Complaint)

27   20 Dkt. 1 at 6.

     21 Dkt. 25 (Amended Mell Dec. Ex. F Police Report and Chavez Statement)
28   22 Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007)).

     23 Twombly, 550 U.S. at 555.
29
     24 Iqbal, 556 U.S. at 678 (quoting Twombly, 550 U.S. at 557).
30    THE GEO GROUP, INC. AND LOWELL CLARK’S
                                                                                                     III BRANCHES LAW, PLLC
                                                                                                             Joan K. Mell
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 1   to draw the reasonable inference that the defendant is liable for the misconduct alleged.”25 The
 2
     Court may rely upon its “judicial experience and common sense” when ruling on the sufficiency
 3
     of a complaint.26
 4
 5   B.      GEO Not A State Actor For Purposes of First Amendment Relief
 6
             1. No Section 1983 Liabilities for Private Contractors
 7
             A federal statutory cause of action under 42 U.S.C. § 1983 to enforce the First
 8
 9   Amendment must allege acts or omissions taken under color of state law.27 GEO is a private
10   corporation, not a state actor. Thus, there is no statutory cause of action available to Mr. Chavez
11
     to enforce the First Amendment against GEO or its Warden.
12
13           2.       No Bivens Remedies Available Against GEO or Its Warden Who Are Private
                      Actors
14
15           Private correctional facilities like GEO and it's employees may not be sued under the
16
     common law “Bivens” theory of civil rights liability. 28 There is no implied private right of
17
     action, pursuant to Bivens, for damages against private entities allegedly acting under color of
18
19   federal law. The purpose of a common law theory against federal officers is to deter individual
20   federal officers from engaging in constitutional violations.               Here there are no federal actors
21
     involved, and even if there were, GEO and Warden Clark are not federal officers, nor do they
22
23   have any control over ICE.

24   C.        Plaintiff Was Not Assaulted, And He Possessed Contraband In Violation of the Rules
25
26
27
     25  Twombly, 550 U.S. at 556
28   26 Id. at 679.
     27 Knapps v. City of Oakland, 647 F. Supp. 2d 1129 (2009).
29
     28 CSC v. Malesko, 534 U.S. 61, 122 S. Ct. 515 (2001); Minneci v. Pollard, 132 S. Ct. 617 (2012).
30    THE GEO GROUP, INC. AND LOWELL CLARK’S
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 1            Plaintiff sets forth a frivolous complaint that is not supported by the facts. As set forth
 2
     above, GEO may not be restrained based upon federal constitutional principals applicable
 3
     exclusively to government actors. But even if plaintiff were to allege a theory applicable to a
 4
 5   state actor like GEO, the restraints it seeks would violate basic correctional standards essential
 6
     to the orderly operation of detention facilities.        Instigating a collective hunger strike and
 7
     blocking the doorway in violation of basic instructions is disruptive to prison safety and
 8
 9   security, and is not protected conduct under the First Amendment.29 A hunger strike leader
10   who causes disruption within a facility in violation of the rules is appropriately subject to
11
     discipline to include being moved from nonparticipating inmates to maintain order. Removal
12
13   from the general population is a legitimate correctional goal.30

14           Disciplinary action does not equate to unlawful retaliation simply by showing adverse
15
     activity by an inmate following protected speech. A plaintiff must show a nexus between the
16
17   speech and the adverse action:31

18           To the extent defendants segregated and instituted disciplinary proceedings against
19           plaintiff because they believed he instigated the strike, this does not amount to retaliation
             for the exercise of a constitutional rights because plaintiff had no First Amendment right
20           to instigate the strike. The evidence is uncontradicted that the strike included assaults and
21           the threat of assaults on inmates who did not participate. In addition, the work stoppage
             threatened to prevent the orderly operation of the prison, including the preparation and
22           disbursement of meals to the inmates. Preventing such a strike, and disciplining inmates
23           responsible for instigating such a strike, is certainly reasonably related to the legitimate
             penological goal of preserving inmate safety and prison security. See Beards v. Banks,
24
             548 U.S. 521, 126 S.Ct. 2572, 2578, 165 L.Ed.2d 697 (2006) (although normally the
25           court draws all justifiable inferences in the non-movant's favor at the summary judgment
26
     29  Brown v. Rasley, 113-CV-02094-AWIBAMPC, 2017 WL 6344424 at *4 (E.D. Cal. Dec. 12, 2017), citing to
27
     Arredondo v. Drager, No. 14–CV–04687–HSG, 2016 WL 3755958, at *7–8, 15 (N.D. Cal. July 14, 2016) (collecting
28   cases); see also Fulton v. Lamarque, No. C 03–4709 RMW (PR), 2008 WL 901860, at *5 (N.D. Cal. Mar. 31, 2008)
     (prisoner has no First Amendment right to instigate a strike).
     30 Yandell v. Cate, C 12-4566 PJH PR, 2013 WL 97769 at *2 (N.D. Cal. Jan. 7, 2013).
29
     31 Fulton v. Lamarque, C 03-4709 RMW (PR), 2008 WL 901860, at *5 (N.D. Cal. Mar. 31, 2008).
30    THE GEO GROUP, INC. AND LOWELL CLARK’S
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 1            stage, in disputed matters of professional judgment, the court's inferences must accord
              deference to the views of prison authorities).
 2
 3   Plaintiff requests relief that is intended to interfere with the safe and security operation of the
 4
     facility. The conduct he seeks to restrain such as disciplinary segregation is not an interference
 5
     with any rights he has while detained.
 6
 7            Plaintiff fails to establish any required nexus between his disciplinary segregation for
 8
     possession of contraband and his alleged protected activities. Indeed, plaintiff omits the very
 9
     evidence of the search finding the fermenting apples in his own locker.32 He deceptively offers
10
11   only the evidence search report for his bunk, and not his locker.33                   Plaintiff submits his own
12
     statement alleging he does not even drink, yet his criminal history is replete with alcohol related
13
     offenses and other crimes indicating he is not trustworthy.34                     Plaintiff did not suffer any
14
15   retribution for contacting law enforcement because his segregation had been finally determined
16
     before the Tacoma Police Department arrived.
17
              With regard to plaintiff’s allegations that he was assaulted, his own statement to law
18
19   enforcement is inconsistent with the declaration in support of temporary restraint and with his
20   complaint. Any contact any GEO officer had with plaintiff was accidental. 35 Additionally, any
21
     such contact was the direct consequence of a resistance he initiated that violated the rules and put
22
23   everyone at risk. His conduct in damaging his own eye further evidences the fact that plaintiff

24   has manufactured evidence in violation of his obligation to be truthful in his filings.
25
                                               IV.        CONCLUSION
26
27   32 Dkt. 23 (Portillo Dec.)
     33 Chavez Dec. Ex. A. (Evidence/Search Report) and Amended Mell Dec. Ex. H (Evidence/Search Reports)
28
     34 Cho Dec. at Ex. F (Institutional Disciplinary Panel Report - Detainee Statement “I don’t even drink alcohol.”) &

29   Amended Mell Dec. Ex. J and Ex. K (Criminal History).
     35 Dkt. 25 Amended Mell Dec. Ex. C (Lt. Snyder Memo)
30    THE GEO GROUP, INC. AND LOWELL CLARK’S
                                                                                                     III BRANCHES LAW, PLLC
                                                                                                             Joan K. Mell
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 1           Plaintiff has no remedy against GEO or its Warden under Section 1983 or Bivens to
 2
     enforce the First Amendment. Plaintiff states a frivolous complaint that should be dismissed
 3
     outright with prejudice.
 4
 5           Dated this 21st day of March, 2018 at Fircrest, WA.
 6
             III Branches Law, PLLC
 7
             ________________________
 8           Joan K. Mell, WSBA #21319
 9           Attorney for The GEO Group, Inc.,
             and Warden Lowell Clark
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30    THE GEO GROUP, INC. AND LOWELL CLARK’S
                                                                                    III BRANCHES LAW, PLLC
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 1                                   CERTIFICATE OF SERVICE
 2          I, Joseph Fonseca, hereby certify as follows:
 3
            I am over the age of 18, a resident of Pierce County, and not a party to the above action.
 4
     On March 21, 2018, I electronically filed the above The GEO Group, Inc. and Lowell Clark's
 5
 6   Amended Motion For Summary Judgment, with the Clerk of the Court using the CM/ECF

 7   system and served via U.S. Mail to the following:
 8   ATTORNEY NAME & ADDRESS                             METHOD OF DELIVERY
 9   Emily Chiang, WSBA No. 50517                        ■ CM/ECF E-Service
     Eunice Hyunhye Cho, GA Bar No. 632669
10
     American Civil Liberties Union of Washington
11   Foundation
     901 Fifth Avenue, Suite 630
12
     Seattle, WA 98164
13   (206)-624-2184
     echiang@aclu-wa.org
14
     echo@aclu-wa.org
15
16   Sarah K. Morehead, WSBA No. 29680
     Assistant United States Attorney
17   United States Attorney's Office
18   700 Stewart Street, Suite 5220
     Seattle, WA 98101
19   (206)-553-7970
20   sarah.morehead@usdol.gov

21          I certify under penalty of perjury under the laws of the State of Washington that the
22   above information is true and correct.
23
            DATED this 21st day of March, 2018 at Fircrest, Washington.
24
25
26                  Joseph Fonseca, Paralegal
27
28
29
30    THE GEO GROUP, INC. AND LOWELL CLARK’S
                                                                                      III BRANCHES LAW, PLLC
                                                                                              Joan K. Mell
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